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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


GRACIE WHITE f/k/a GRACIE DORNEUS,                     Case No. 3:18-cv-30143-MGM
individually and on behalf of persons similarly
situated,

                Plaintiffs,

        v.

ALLY FINANCIAL, INC.,

                Defendant.


              PLAINTIFF’S MOTION TO EXTEND SCHEDULING ORDER DEADLINES

        Plaintiff Gracie White moves for an extension of 90 days for the Parties to complete

discovery and a corresponding extension of the deadline for filing dispositive motions, to 30

days after the close of discovery. In support of her request, Ms. White states:

        1.      The November 13, 2020 Scheduling Order requires the Parties to complete all

discovery on or before March 4, 2021. ECF # 66.

        2.      Since that time the Parties have served and responded to written discovery, Ms.

White’s deposition has been taken in full, and a Rule 30(b)(6) deposition was commenced but

not yet completed due to a personal issue of the witness that required the deposition be

suspended.

        3.      Although the Parties have made substantial progress, a number of disputes remain

that have made it impossible for the Parties to complete discovery in full.

        4.      With respect to these disputes, Plaintiff has filed a motion to compel responses to

certain document requests and interrogatories. Ally has filed a motion for a protective order as to

certain topics listed in Plaintiff’s 30(b)(6) deposition notice.
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       5.      The outcomes of these motions will determine what discovery is left to be

completed, and may require supplementation of existing responses and/or additional limited

discovery requests. As such, Plaintiff seeks an additional 90 days to complete discovery.

       6.      The Scheduling Order deadline to file dispositive motions is currently May 4.

2021, deadline to file oppositions is June 4, 2021, and deadline to file replies is June 18, 2021.

ECF # 66.

       7.      Ms. White requests an extension of 60 days for the dispositive motions’ briefing

schedule, making the deadline to file dispositive motions July 6, 2021; the deadline to file any

opposition August 5, 2021; and deadline to file replies August 19, 2021.

       8.      A hearing on any filed dispositive motions is currently scheduled for July 14,

2021 at 11:00 a.m., and if no dispositive motions are filed, the hearing is to be converted to an

initial pretrial conference. Ms. White requests that the hearing be rescheduled to a date and time

appropriate with the dispositive motion briefing schedule extension and at the Court’s

convenience.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this motion to extend

the deadline to complete discovery for 90 days, to and including June 2, 2021, the deadline to file

dispositive motions to and including July 6, 2021, the deadline to file oppositions to dispositive

motions to and including August 5, 2021, and the deadline to file replies to and including August

19, 2021.



Dated: March 4, 2021




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                           Respectfully submitted,
                           Gracie White,
                           By her attorneys:

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                                 LOCAL RULE 7.1 CERTIFICATE

        Pursuant to Local Rule 7.1(a)(2) Plaintiff’s counsel certifies that she conferred with
counsel for Defendant in regard to this motion but as of the time of filing Defendant has not yet
indicated its position on the relief requested in this motion.


                                                      /s/ Elizabeth Ryan
                                                      Elizabeth Ryan




                                    CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic File (NEF)
on March 4, 2021.


                                                      /s/ Elizabeth Ryan
                                                      Elizabeth Ryan




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